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AO 472 Order of Detention Pending Trial


                                             United States District Court
                                                WESTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA                                                    ORDER OF DETENTION
V.                                                                          PENDING TRIAL
Lamonta Mitchell                                                            Case Num ber: 1:05 Cr 163

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                          Part I – Findings of Fact
            (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a          federal
                offense      state or local offense that would have been a federal offense if a circumstance giving rise to federal
                jurisdiction had existed – that is
                     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                     an offense for which the maximum sentence is life imprisonment or death.
                     an offense for which a maximum term of imprisonment of ten years or more is prescribed in

                     A felony that was committed after the defendant had been convicted of two or more prior federal offenses described
                     in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses.
            (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state
                or local offense.
            (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from
                imprisonment for the offense described in finding (1).
            (4) Findings Nos. (1),(2) and (3) establish a rebuttable presumption that no condition or combination of conditions will
                reasonably assure the safety of (an) other person(s) and the community. I further find that the defendant has not
                rebutted this presumption.

                                                          Alternate Findings (A)
     ✘      (1) There is probable cause to believe that the defendant has committee an offense
                 ✘ for which a maximum term of imprisonment of ten years or more is prescribed in .the Controlled Substances Act
                      under 18 U.S.C. § 924(c).
     ✘      (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
                will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                          Alternate Findings (B)
     ✘      (1) There is a serious risk that the defendant will not appear.
     ✘      (2) There is a serious risk that the defendant will endanger the safety of another person or the community.


                                           Part II – W ritten Statement of Reasons for Detention
            I find that the credible testimony and information submitted at the hearing establish by a preponderance of the evidence that

     defendant is a 29-year-old man with no stable residence or employment. He reported to the pretrial services officer that he lives with
     his grandmother, a statement that proved false after investigation. He admits to a drug abuse problem. Defendant has a juvenile and
     adult criminal history. His adjustment to supervision while on probation and parole has been very poor. Among other violations, he
     was convicted of three drug felonies in 1997 while on probation. He also committed numerous parole violations, including testing
     positive five times for drug use. He was on parole during part of the time covered by the present Indictment. Defendant's poor
     adjustment to previous supervision demonstrates that he will pose an unacceptable risk of nonappearance and danger if released on
     bond.



                                               Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

October 6, 2005                                                    /s/ Joseph G. Scoville
Date                                                               Signature of Judge


                                                                    Joseph G. Scoville, United States Magistrate Judge
                                                                   Name and Title of Judge
